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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUⅣ IBIA




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UNITED STATES OF AMERICA




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                                            Crimo No.18¨ CR‐ 32… 2(DLF)
              V。




CONCORD ⅣIANAGEⅣ IENT AND
CONSULTING LLC,                             FILED UNDER SEAL
               Defendant.



 GOVERNMENT'S RENEWED MOTION FOR EARLY RETURN TRIAL SUBPOENA

       The United States of America, by and through undersigned counsel, respectfully renews

its request for an early-return trial subpoena to defendant Concord Management and Consulting

LLC. In support of its renewed motion, the government    states as follows.


       On December 3, 2019, the government filed a motion requesting the Court's permission to

issue an early-retum   trial subpoena to Concord under Federal Rule of Criminal Procedure l7(c).

Doc. 267; see Doc. 273 (Concord opposition); Doc. 278 (govemment reply). The proposed

subpoena requested nine categories of documents:

              1. All corporate registration documents for Concord Management and
              Consulting LLC.

              2. Documents sufficient to identiff the corporate officers of Concord
              Management and Consulting LLC from January 1,2014 to February 1,
              201 8.

              3. Documents sufficient to identifu any Internet Protocol address used by
              Concord Management and Consulting LLC from January l, 2014 to
              February 1,2018.

              4.  For the time period from January 1,2014 to February 1,2018, records
              reflecting any payments from Concord Management and Consulting LLC
              to any of the following entities, either directly or via an intermediary or
              subsidiary organization: Internet Research Agency LLC, Neva News LLC,
              Commercial News Agency LLC, Intemet Research LLC, Federal News
              Agency LLC, MediaSintez LLC, Glavset LLC, Mixlnfo LLC, Azimuth
              LLC, Novinfo LLC, Nation News LLC, Economy Today LLC.
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                  5. For the time period from January
                                                    1,2014 to February 1, 2018, records
                  reflecting any payments made by Concord Management and Consulting
                  LLC for goods or services provided to Intemet Research Agency LLC,
                  NevaNews LLC, Commercial News Agency LLC, Internet Research LLC,
                  Federal News Agency LLC, MediaSintez LLC, Glavset LLC, Mixlnfo
                  LLC, Azimuth LLC, Novinfo LLC, Nation News LLC, Economy Today
                  LLC,
                  6.  Documents reflecting or relating to any meetings between any
                  individual affiliated with the Internet Research Agency, including but not
                  limited to Mikhail Burchik, and any individual affiliated with Concord
                  Management and Consulting LLC, including but not limited to Yevgeniy
                  Prigozhin.

                  7. All communications  between any individual affiliated with the Internet
                  Research Agency  and any individual affiliated with Concord Management
                  and Consulting LLC.

                  8. All communications   between any individual affiliated with Concord
                  Management and Consulting LLC and any of the following individuals:
                  Mikhail Bystrov, Mikhail Burchik, Aleksandra Krylova, Anna Bogacheva,
                  Sergey Polozov, Maria Bovda, Robert Bovda, Dzheykhun Aslanov, Vadim
                  Podkopaev, Gleb Vasilchenko, Irina Kaverzina, Vladimir Venkov, and
                  Elena Khusyaynova.

                  9. Calendar entries for Yevgeniy Prigozhin for the time period January           l,
                  2014to February 1,2018.


       On December 12,2019, this Court granted the government's motion in part, authorizing

the government to issue an early-return trial subpoena for the first three categories. Doc.279.

With respect to categories four through nine, the Court held that the document requests           as    written

failed "the specificity requirement" of Rule l7(c). Id. at   l.   The Court invited the government to

file a renewed motion narrowing those categories.

       The revised proposed subpoena attachment, Exhibit          1   to this motion, signihcantly narrows

the categories of documents requested and meets the specificity requirement of Rule 17(c). See

United States v. Binh Tango Vo,78 F. Supp. 3d 171,178 (D.D.C .2015) (noting that           a   party seeking


an early-return   trial subpoena must show relevancy, admissibility, and specificity)'


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       A trial subpoena is sufficiently specific "if there is a 'sufficient likelihood,' demonstrated

through rational inferences, that the documents being sought contain relevant and admissible

evidence."   Id.   The Rule does not require "exquisite specificity," United States v. Poindexter,T2T

F. Supp. 1501,     l5l0 (D.D.C. 1989);   rather, the moving party must merely "reasonably specify the

information contained or believed to be contained in the documents sought," United States           v.


Libby,432F. Supp.2d26,3l (D.D.C. May26,2006) (quoting Noriega,764F. Supp. 1480, 1493

(S.D. Fla. 1991)). The specificity requirement ensures that a trial subpoena    "will not be used as a

'fishingexpeditiontoseewhatmayturnup."' Libby,432F. Supp.2d at32(citationomitted). In

addition, the specificity requirement is intended to provide the subpoenaed party "with enough

knowledge about what documents are being requested so as to lodge any objections on relevancy

or admissibility." 1d (quoting United States v. Anderson,3l F. Supp. 2d933,945 (D. Kan. 1998)).


       The narrowed categories of documents requested in the revised proposed trial subpoena to

Concord meet this requirement, for the following reasons.


       The category of requested financial documents has been narrowed to seek only documents

concerning financial transactions that are directly relevant to the allegations set forth in the

Superseding Indictment. Rather than requesting "records reflecting any payments" from Concord

to twelve different entities, the revised subpoena now requests only payments from Concord to

fund the activities of the Internet Research Agency. This request is likely to yield admissible

evidence, as the Superseding Indictment alleges that Concord's participation in the conspiracy

consisted of funding the operations of the Internet Research Agency. Doc. 247 fl I      l.   Moreover,

evidence gathered in the course of the investigation allows the government to "reasonably specify

the information...believed to be contained in the documents sought" with this request. Libby,432

F. Supp. 2d at 31 (quoting Noriega,764 F. Supp. at 1493). The government has obtained emails
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between an accountant for the Internet Research Agency and employees of Concord attaching

budgets that appear to show payments from Concord funding the activities of the Agency. This

category of requested documents is likely to contain records showing the financial transactions

reflected in these budget spreadsheets and is not merely a "fishing expedition to see what may turn

up."


       Similarly, the category of communications requested has also been narrowed. Rather than

request   all communications between any member of the Internet Research Agency and any

employee of Concord, the proposed trial subpoena now requests only communications between

individuals affiliated with Concord and specific individuals associated with the Internet Research

Agency (namely, the indicted defendants and the Internet Research Agency accountant, who has

been charged by criminal complaint in another   jurisdiction). This category of requested documents

has been further narrowed by topic, to cover only communications concerning the activities of the

Internet Research Agency. Here again, the government can "reasonably specify" the information

believed to be contained in the documents sought. As noted above, the government has recovered

some communications between the Internet Research Agency accountant and employees                of

Concord.




          Finally, the government has narrowed the request covering Prigozhin's calendar entries.

Rather than request all of Prigozhin's calendar entries over a four-year period, the government

requests only calendar entries reflecting meetings with Mikhail Burchik (the alleged executive

director of the Agency), "Burchik, M.," "Misha Lakhta," the other indicted defendants, or the
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accountant. This request is likely to yield relevant and admissible evidence. In the course of the

investigation, the government has obtained some photographs of

                                                                                                  This

document request   is likely to yield                                          (rather than just the

photographs), as well as other similar                                                             not

photographed.


       Thus, for each of the requested categories of documents, the government has described the

requested materials with reasonable specificity, and has explained the basis for the government's

assertion that the requested documents   will yield relevant, admissible evidence. Other courts   have

upheld similarly-worded trial subpoenas-including trial subpoenas to defendants. See, e.g.,

United States v. Nosal,291 F.R.D. 403,409 (N.D. Cal.2013) (upholding in part trial subpoena

issued by defendant to third party requesting "any and all...documents" related        to particular

allegations in indictment); United States v. Rojaratnam,20l    I   U.S. Dist. LEXIS 10176, at x8-*9

(S.D.N.Y.   Feb.2,20ll) (granting govemment's        application for trial subpoena to corporation

seeking certain trading records, corporate documents, and "any and all e-mails sent or receiving

by" the defendant regarding certain subjects on the ground that the subpoena requested categories

of documents "in furtherance of the alleged conspiracies"); Libby, 432 F. S.rpp. 2d at 35-36

(upholding trial subpoena requesting "all documents" referencing certain individuals or discussing

certain topics); United States v. McCollom,65l F. Supp. 1217, 1219-25 (N.D.      Ill. 1987) (denying

in relevant part motion to quash trial subpoena requesting "any and all original checks, check

registers, or withdrawal slips, or other information reflecting withdrawals of funds or the drawing

on funds from accounts" owned by defendant and ruling that "[d]esignation of kinds of documents

with reasonable particularity will suffice"); United States v. Gel Spice Co.,60l F. Supp. 1214,
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1220 (E.D.N.Y. 1985) (denying motion to quash trial subpoena issued to corporate defendant

requesting "records regarding the shipment and importation of certain foods" and concluding that

Rule 17(c) "provides for the subpoena of corporate records").


                                     Respectfu   lly submitted,


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TRIAL SUBPOENA TO CONCORD                 ⅣIANAGEⅣ IENT       AND CONSULTING LLC
                                   ATTACHⅣ IENT A


1.   All corporate registration documents for Concord Management    and Consulting LLC.
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     Documents sufficient to identifu the corporate officers of Concord Management and
     Consulting LLC from January 1,2014 to February 1,2018.

3.   Documents sufficient to identify any Internet Protocol address used by Concord
     Management and Consulting LLC from January 1,2014 to February 1,2018.

4.   For the time period from January 1,2014 to February 7,2018, records reflecting any
     payments from Concord Management and Consulting LLC to fund the activities of the
     Internet Research Agency, made directly or through another organization.

5.   For the time period from January 1,2014 to February 1,2018, all communications
     between any individual affiliated with Concord Management and Consulting LLC or
     Concord Catering and any of the following individuals concerning the activities of the
     Internet Research Agency: Mikhail Bystrov, Mikhail Burchik, Aleksandra Krylova,
     Anna Bogacheva, Sergey Polozov, Maria Bovda, Robert Bovda, Dzheykhun Aslanov,
     Vadim Podkopaev, Gleb Vasilchenko, Irina Kaverzina, Vladimir Venkov, and Elena
     Khusyaynova.

6.   Calendar entries for Yevgeniy Prigozhin for the time period from January 1,2014 to
     February 1,2018 reflecting any meeting(s) with Mikhail Burchik, "Burchik M.," "Misha
     Lakhta," or any of the following individuals: Mikhail Bystrov, Aleksandra Krylova,
     Anna Bogacheva, Sergey Polozov, Maria Bovda, Robert Bovda, Dzheykhun Aslanov,
     Vadim Podkopaev, Gleb Vasilchenko, Irina Kaverzina, Vladimir Venkov, and Elena
     Khusyaynova.
